Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 1 of 14 PageID #:1656




                   EXHIBIT M
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 2 of 14 PageID #:1657


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)




                                                                 *1 The instant case is a putative class action suit brought
                  2013 WL 1120801                                by former Netflix subscribers Jeff Milans and Peter
                                                                 Comstock (collectively “Plaintiffs”) against Defendant
Editor’s Note: Additions are indicated by Text and               Netflix, Inc. (“Netflix”). Presently before the Court is the
deletions by Text.                                               Motion for Final Approval of Class Action Settlement and
   Only the Westlaw citation is currently available.             Award of Attorneys’ Fees (“Final Approval Motion”). See
     United States District Court, N.D. California,              Docket Item No. 191. Having reviewed the Settlement
                   San Jose Division.                            Agreement and the parties’ and objectors’ arguments and
                                                                 papers, the Court has determined that the present Motion
      In re NETFLIX PRIVACY LITIGATION.                          will be GRANTED for the reasons set forth below.

               No. 5:11–CV–00379 EJD.
                           |
                    March 18, 2013.

                                                                 I. Background
Attorneys and Law Firms                                          On January 26, 2011, Plaintiff Milans initiated this class
                                                                 action, claiming that Netflix unlawfully retained and
Ari Jonathan Scharg, Benjamin Harris Richman, Chandler           disclosed his Entertainment Content Viewing History and
Randolph Givens, Jay Edelson, Edelson LLC, William               other personally identifiable information (“PII”) located
Charles Gray, Chicago, IL, for Jeff Milans.                      on Netflix’s website and that of thousands of other Netflix
                                                                 customers. See Docket Item No. 1. Among other claims,
Sean Patrick Reis, Rafey Sarkis Balabanian, Edelson              Milans alleged violations of the Video Privacy Protection
LLP, Rancho Santa Margarita, CA, for Jeff Milans, and            Act (“VPPA”), 18 U.S.C. § 2710. Id. A wave of similar
Peter Comstock.                                                  suits followed, and on August 12, 2011, the Court
                                                                 consolidated six cases, granted Plaintiffs leave to file an
David Eldridge Bower, Law Office of David E. Bower,
                                                                 Amended and Consolidated Class Complaint, and
Los Angeles, CA, for Jason Bernal, Michael Rura, and
                                                                 appointed Jay Edelson of Edelson McGuire, LLC as
Peter Comstock.
                                                                 interim lead Class Counsel. See Docket Item No. 59.
Marc Lawrence Godino, Glancy Binkow & Goldberg
LLP, Los Angeles, CA, for Michael Sevy, and Eric                 After a mediation overseen by retired United States
Wizenberg.                                                       District Court Judge Layn R. Phillips, the parties reached
                                                                 a settlement agreement (“Settlement Agreement”). The
Joseph Jeremy Siprut, Siprut PC, Chicago, IL, for                parties notified the Court of settlement on February 10,
Michael Sevy.                                                    2012. See Docket Item No. 10. The full Settlement
                                                                 Agreement is attached as Exhibit A to Plaintiff’s Final
Keith E. Eggleton, Rodney Grant Strickland, Jr., Wilson          Approval Motion. See Docket Item No. 191 Ex. A. The
Sonsini Goodrich & Rosati, Palo Alto, CA, for Netflix,           Court will summarize the key terms of the Settlement
Inc.                                                             Agreement for the purposes of the present Final Approval
                                                                 Motion:

                                                                      • Class Definition. The class was defined as follows:
                                                                      “[A]ll Subscribers as of the date of entry of
                                                                      Preliminary Approval. Excluded from the Settlement
                                                                      Class are the following: (i) the Settlement
                                                                      Administrator, (ii) the Mediator, (iii) any respective
                                                                      parent, subsidiary, affiliate or control person of the
  ORDER GRANTING FINAL APPROVAL OF                                    Defendant or its officers, directors, agents, servants,
CLASS ACTION SETTLEMENT; APPROVAL OF                                  or employees as of the date of filing of the Action,
 CY PRES AWARDS; AWARD OF ATTORNEYS’                                  (iv) any judge presiding over the Action and the
FEES AND EXPENSES AND INCENTIVE AWARD                                 immediate family members of any such person(s),
                                                                      (v) persons who execute and submit a timely request
                                                                      for exclusion, and (vi) all persons who have had their
EDWARD J. DAVILA, District Judge.
                                                                      claims against Defendant fully and finally
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        1
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 3 of 14 PageID #:1658


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



    adjudicated or otherwise released.” Settlement                    Notice of Proposed Cy Pres Award Recipients,
    Agreement § 1.38. The size of the class amounts to                Docket Item No. 193.
    approximately 62 million individuals.
                                                                      • Release of Claims. In exchange for the relief
    • Injunctive Relief. The Settlement Agreement                     explained above, the Settlement Agreement provides
    requires Netflix to decouple Entertainment Content                that Netflix and each of its related affiliates and
    Viewing Histories from customers’ identification                  entities will be released from any claims arising out
    and payment methods within one year of the                        of, relating to, or regarding the alleged retention and
    Effective Date of Settlement. Id. § 2.1.                          disclosure of Plaintiffs’ and the Settlement Class’s
                                                                      personally identifiable information, Video Rental
    • Settlement Fund. Netflix has agreed to pay a total              History, and other information, including but not
    amount of $9,000,000.00 into a Settlement Fund. Id.               limited to all claims that were brought, alleged,
    § 2.3. The Fund will be used for payment of                       argued, raised, or asserted in any pleading or court
    Settlement Administration Expenses, a fee award to                filing in the Action. See Settlement Agreement §§
    Class Counsel, and incentive award to the Class                   1.31, 1.32, 1.33, 1.42, 3.
    Representatives and Named Plaintiffs. Id. § 2.3. The
    balance of the Fund will be distributed to cy pres           Plaintiffs moved the Court to preliminarily approve the
    recipients. Id.                                              settlement on May 25, 2012. See Docket Item No. 76. The
                                                                 Court granted this motion on July 5, 2012. See Am. Order
    *2 • Settlement Administration Expenses. Plaintiffs          Grant’g Mot. for Prelim. Approval of Class Action
    have calculated these costs to be $114,570.58 with           Settlement (“Preliminary Approval Order”), Docket Item
    additional expected costs of $35,000.00. See Final           No. 80. Pursuant to the Preliminary Approval Order,
    Approval Motion at 24.                                       Class Notice, including notice of the hearing on the final
                                                                 approval of the class action settlement, was sent to the
    • Fee Award to Class Counsel. Netflix has agreed to          Class. The Court received over 100 Objections to the
    pay Class Counsel a fee award of up to 25% of the            settlement.
    amount of Settlement Fund—$2,250,000.00—plus
    reimbursement of up to $25,000.00 of costs and               A hearing on the final approval of the settlement was held
    expenses. Id. at 24.                                         on December 5, 2012 where the Court heard arguments of
                                                                 counsel as well as that of individual class member
    • Incentive Award to Class Representatives. Netflix
                                                                 objectors. See Minute Entry, Docket Item No. 233.
    has agreed to pay Class Representatives Milans and
                                                                 Plaintiffs filed the present Final Approval Motion on
    Comstock as well as the named-plaintiffs in the
                                                                 October 31, 2012. See Docket Item No. 191. In addition,
    Related Actions, a collective incentive award in the
                                                                 Plaintiffs and Defendant each filed responses addressing
    amount of $30,000.00. See Settlement Agreement §
                                                                 the procedural and substantive issues raised by the
    9.2.
                                                                 objections. See Pls.’ Reply Memo. in Supp. of Final
    • Cy Pres Distribution. The parties have agreed to           Approval Mot., Docket Item No. 226; Def.’s Response to
    distribute the balance of the Settlement Fund to             Objections to Class Action Settlement, Docket Item No.
    not-for-profit organizations, institutions, and              225.
    programs for the purpose of educating “users,
    regulators, and enterprises regarding issues relating
    to protection of privacy, identity, and personal
    information through user control, and to protect users
    from online threats.” Id. § 2.4.1. The parties have          II. Legal Standard
    selected twenty such organizations which will                *3 A class action may not be settled without court
    “spend the funds solely on privacy protection and
    education efforts.” Final Approval Motion at 23. A           approval.     Fed.R.Civ.P. 23(e). “If the proposal would
    list of the twenty proposed cy pres recipients and           bind class members, the court may approve it only after a
    explanation of how they intend to use the funds is           hearing and on finding that it is fair, reasonable, and
    provided in the Final Approval Motion as well as             adequate.” Id. When the parties to a putative class action
    posted       on      the      litigation      website        reach a settlement agreement prior to class certification,
    (www.videoprivacyclass.com).          The     precise        “courts must peruse the proposed compromise to ratify
    disbursement from the Settlement Fund to each of             both the propriety of the certification and the fairness of
    these organizations was filed with the Court. See            the settlement.”    Staton v. Boeing Co., 327 F.3d 938,

               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        2
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 4 of 14 PageID #:1659


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



952 (9th Cir.2003). “[J]udges have the responsibility of
ensuring fairness to all members of the class presented for
certification.” Id.
                                                                    A. Class Certification
The law favors the compromise and settlement of class            In accordance with first step for approving a class action
action suits. See, e.g.,   Churchill Village, LLC. v. Gen.       settlement agreement, see      Windsor, 521 U.S. at 620,
                                                                 the Court notes that class certification is appropriate for
Elec., 361 F.3d 566, 576 (9th Cir.2004);             Class
Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th          this litigation under    Federal Rule of Civil Procedure
                                                                 23. Because the Objections do not appear to raise a viable
Cir.1992);     Officers for Justice v. Civil Serv. Comm’n,
                                                                 challenge to that conclusion, the Court will rely on the
688 F.2d 615, 625 (9th Cir.1982). “[T]he decision to
                                                                 rationale for class certification as explained in the
approve or reject a settlement is committed to the sound
                                                                 Preliminary Approval Order. See Preliminary Approval
discretion of the trial judge because he is exposed to the
                                                                 Order at 4–6.
litigants and their strategies, positions, and proof.”
    Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
Cir.1998).

First, the district court must assess whether a class exists
under       Federal Rule of Civil Procedure 23(a) and (b).          B. Reasonableness of the Settlement Agreement
“Such attention is of vital importance, for a court asked to     *4 The Court now turns to the question of whether the
certify a settlement class will lack the opportunity, present    Settlement Agreement is “fair, adequate, and reasonable”
when a case is litigated, to adjust the class, informed by       as prescribed under        Federal Rule of Civil Procedure
the proceedings as they unfold.”         Amchem Prods. Inc.      23(e). In answering this question, district courts have been
v. Windsor, 521 U.S. 591, 620, 117 S.Ct. 2231, 138               instructed to balance several factors: (1) the strength of
L.Ed.2d 689 (1997). Second, the district court must              the plaintiffs’ case; (2) the risk, expense, complexity, and
carefully consider “whether a proposed settlement is             likely duration of further litigation; (3) the risk of
fundamentally fair, adequate, and reasonable,” pursuant to       maintaining class action status throughout the trial; (4) the
                                                                 amount offered in settlement; (5) the extent of discovery
    Federal Rule of Civil Procedure 23(e); recognizing           completed and the stage of the proceedings; (6) the
that “[i]t is the settlement taken as a whole, rather than the   experience and views of counsel; (7) the presence of a
individual component parts, that must be examined for            governmental participant; and (8) the reaction of the class
overall fairness.”       Hanlon, 150 F.3d at 1026 (citations     members to the proposed settlement.            Hanlon, 150
omitted).
                                                                 F.3d at 1026;     Churchill, 361 F.3d at 575.

                                                                 Courts have afforded a presumption of fairness and
                                                                 reasonableness of a settlement agreement where that
                                                                 agreement was the product of non-collusive, arms’ length
III. The Settlement Agreement                                    negotiations conducted by capable and experienced
The Court reasserts its conclusion in the Preliminary            counsel. See, e.g., Garner v. State Farm Mut. Auto. Ins.
Approval Order that the Settlement Agreement “appears            Co., No. 08–CV–1365–CW, 2010 WL 1687832, at *13
fair, non-collusive and within range of possible final           (N.D.Cal. Apr.22, 2010). Because this Court has
approval” and “was a product of arm’s length negotiation         concluded that the settlement negotiations were conducted
before a mediator and does not appear to benefit those           free of collusion, see Preliminary Approval Order at 4,
who participated in the mediation at the expense of any          and the Objections do not raise a viable challenge to this
other parties.” Preliminary Approval Order at 4. The             notion, the Court will evaluate each of eight Hanlon
Court also iterates the following: “In light of the minimal      approval factors under the presumption of fairness and
monetary recovery that would be realistically recoverable        reasonableness.
by individual Settlement Class members and the
immediate benefits offered to the Class by the injunctive
relief and cy pres donations, the Settlement Agreement is
deserving of preliminary approval.” Id.
                                                                   1. Strength of Plaintiff’s Case
                                                                 In determining the probability and likelihood of a
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        3
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 5 of 14 PageID #:1660


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



plaintiff’s success on the merits of a class action              prevented a monetary damage award under the VPPA,
litigation, “the district court’s determination is nothing       Class Counsel still intended to bring suit under the
more than an amalgam of delicate balancing, gross                “unlawful” prong of California’s Unfair Competition
approximations and rough justice.”            Officers for       Law,     Cal. Bus. & Prof.Code § 17200, which could
Justice, 688 F.2d at 625 (internal quotation marks               have provided for monetary damages. Taking into
omitted). There is no “particular formula by which that          consideration other potential defenses—such as, again,
outcome must be tested.”         Rodriguez v. West Publ’g        lack of Article III standing—Class Counsel estimated a
Corp., 563 F.3d 948, 965 (9th Cir.2009). The court may           55% change of succeeding on the merits under the
“presume that through negotiation, the Parties, counsel,         “unlawful retention” theory.
and mediator arrived at a reasonable range of settlement
by considering Plaintiff’s likelihood of recovery.”              Class Counsel has placed a net value of the case at
Garner, No. 08–CV–1365–CW, 2010 WL 1687832, at *9                $6,398,667 plus fees. See Final Approval Motion § III
                                                                 (outlining in detail the arrival at this figure). The
(citing     Rodriguez v. West, 563 F.3d at 965).                 calculation first estimates the amount of recovery in the
                                                                 event of success on the merits after surmounting all
Plaintiffs have suggested that they intended to bring two        procedural and substantive obstacles of litigation as well
theories in support of their VPPA violation claims which         as takes into account various costs and fees. The
underlie the class action. The first of these theories is that   calculation then takes into account the time value of
Netflix had unlawfully disclosed customers’ PII by               money at the appropriate discount rate. The Court has
providing that information to third-party analytics              concluded that this figure, derived in the course of the
companies working to improve Netflix’s recommendation            settlement negotiations, is reasonable for the purposes of
algorithm or for other purposes. However, after the              this factor of settlement approval. Because this figure is
commencement of formal and informal discovery,                   lower than the Settlement Fund disbursement (even after
Plaintiffs determined that Netflix had not been disclosing       the deduction of attorneys’ awards and fees, incentive
Netflix customers’ PII to third parties. In addition,            awards, and other costs)—not to mention the value of the
Plaintiffs concluded that the third-party services theory        injunctive relief—this factor weighs strongly in favor of
would be unlikely to succeed given the broad                     approval.
interpretation of the VPPA’s “ordinary course of
business” exception courts in this district have been
employing. See, e.g., Rodriguez v. Sony Computer Entm’t
of Am. LLC, No. 11–CV–4084–PJH (N.D.Cal. Apr. 20,
2012) (granting defendant’s motion to dismiss plaintiff’s
unlawful disclosure VPPA claim for this reason). With                2. Risk of Continuing Litigation
that, and other possible defenses Netflix might have             Proceeding in this litigation in the absence of settlement
raised—such as lack of Article III standing—Class                poses various risks such as dismissal upon a dispositive
Counsel has estimated that the “unlawful disclosure”             motion, potentially potent defenses, increased costs and
claims would have a 5% chance of success on the merits.          fees, and expiration of a substantial amount of time. Such
                                                                 considerations have been found to weigh heavily in favor
*5 The second of Plaintiffs’ theories of the case was that
                                                                 of settlement. See      Rodriguez v. West, 563 F.3d at 966;
Netflix had been unlawfully retaining customers’ PII in
                                                                 Curtis–Bauer v. Morgan Stanley & Co., Inc., No.
violation of the VPPA. One particularly potent defense
                                                                 06–C–3903 TEH, 2008 WL 4667090, at *4 (N.D.Cal.
Netflix could bring in response to this theory is that
                                                                 Oct.22, 2008) (“Settlement avoids the complexity, delay,
numerous courts have found that Congress only intended
                                                                 risk and expense of continuing with the litigation and will
for litigants suing under the VPPA to receive injunctive
                                                                 produce a prompt, certain, and substantial recovery for the
relief and not monetary damages. See, e.g., Rodriguez v.
                                                                 Plaintiff class.”). This is especially true here after taking
Sony Computer Entm’t of Am. LLC,                      No.
                                                                 into consideration the potential pitfalls of Plaintiffs’ case,
11–CV–4084–PJH, 2012 WL 4464563 (N.D.Cal. Sept.25,
                                                                 massive size of the Class, and substantial costs that would
2012) (dismissing with prejudice plaintiff’s unlawful
                                                                 have to be incurred in order to disburse any de minimis
retention VPPA claims for this reason); Sterk v. Redbox
                                                                 monetary payments to Class members in the event of a
Automated Retail, LLC, 672, F.3d 535 (7th Cir.2012)
                                                                 litigation victory. As such, this factor weighs in favor of
(finding no private right of action for statutory damages
                                                                 approval.
for a violation of 18 U.S.C. § 2710(e), VPPA’s unlawful
retention prong);    Daniel v. Cantrell, 375 F.3d 377 (6th
Cir.2004) (same). While this defense might have

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                         4
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 6 of 14 PageID #:1661


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



   3. Risk of Maintaining Class Action Status                    In Lane v. Facebook, the Ninth Circuit affirmed the
*6 The notion that a district court could decertify a class      approval of a cy pres settlement distribution similar to the
at any time,     Gen. Tel. Co. of Sw. v. Falcon, 457 U.S.        one presently before this Court. That case, brought on
147, 160, 102 S.Ct. 2364, 72 L.Ed.2d 740 (1982), is one          behalf of a class of millions, involved claims of violations
                                                                 of the VPPA and other privacy statutes based on
that weighs in favor of settlement.    Rodriguez v. West,        allegations that defendant Facebook had been gathering
563 F.3d at 966. While this Court certified the Class in         and disseminating the personal information of its
the Preliminary Approval Order—and is reaffirming that
certification in this Order—this certification was for           members.       696 F.3d 811. The settlement agreement
settlement purposes only. In the absence of settlement,          included a $9.5 million cash payout to a settlement fund
Netflix would likely vigorously oppose class certification       which, after subtracting attorneys’ fees and other awards
and challenge it before or during trial as well as on            and costs, would be used by Facebook to set up a new
appeal. As such, the risk of losing class status in the          charity organization whose stated purpose would be to
absence of settlement weighs in favor of approval.               “fund and sponsor programs designed to educate users,
                                                                 regulators[,] and enterprises regarding critical issues
                                                                 relating to protection of identity and personal information
                                                                 online through user control, and the protection of users
                                                                 from online threats.”       Id. at 817. The Ninth Circuit
                                                                 concluded that this settlement warranted approval
   4. Amount Offered in Settlement                               because, in addition to the $9.5 million pay-out being a
The amount offered to the Settlement Fund for                    “substantial” sum for this type of class action, “it would
distribution totals $9,000,000.00 plus the agreed-upon           be burdensome and inefficient to pay the $6.5 million in
injunctive relief that seeks to undo and prevent the harm        cy pres funds that remain after costs directly to the class
Plaintiffs have sought to vindicate in bringing this class       because each class member’s recovery under a direct
action suit. Class Counsel has valued the injunctive relief
                                                                 distribution would be         de minimis.” Id. at 824–25
at approximately $4,650,000.00. See Final Approval
                                                                 (internal quotation marks omitted). The Lane court also
Motion at 19, 32 (explaining the arrival at this figure). As
                                                                 noted that the injunctive relief provided for under the
noted, the value of the Settlement Agreement exceeds
                                                                 settlement—which would terminate the complained-of
Class Counsel’s total valuation of the case in the absence
                                                                 activity—would provide reasonable and fair relief when
of settlement, even after accounting for the requested fee
                                                                 coupled with the cy pres distribution. Id. at 825.
awards.
                                                                 *7 In In re Google Buzz Privacy Litigation, a court in this
The method of distribution of the cash settlement is
                                                                 district approved a similar settlement agreement in a
pursuant to cy pres remedy of distributing the funds to
                                                                 similar privacy-related putative class action. No.
various institutions and organizations for the purposes of
                                                                 10–00672–JW, 2011 WL 7460099 (N.D.Cal. June 2,
furthering privacy research, protections, and education
                                                                 2011). That case, brought on behalf of a class estimated to
efforts. A cy pres remedy is a settlement structure wherein
                                                                 be in the tens of millions, included allegations that
class members receive an indirect benefit (usually
                                                                 defendant Google Inc. had disseminated the private and
defendant donations to a third party) rather than a direct
                                                                 personal information of users of its Google Buzz program
monetary payment.”        Lane v. Facebook, Inc., 696 F.3d       in violation of federal privacyrelated and stored
811, 819 (9th Cir.2012). The cy pres doctrine “allows a          communications statutes. Id. The settlement agreement in
court to distribute unclaimed or non-distributable portions      that case included an $8.5 million payout to be distributed
of a class action settlement fund to the next best class of      to third-party cy pres recipients for the purpose of
beneficiaries.”     Nachshin v. AOL, LLC, 663 F.3d 1034,         furthering consumer privacy protection and security
1036 (9th Cir.2011) (internal quotation marks omitted).          efforts. Id. In approving the agreement, the Google Buzz
Cy Pres is employed where “proof of individual claims            court found that the cy pres distribution would “provide[ ]
would be burdensome or distribution of damages costly.”          an indirect benefit to the Class Members consistent with
    Six Mexican Workers v. Ariz. Citrus Growers, 904             the Class Members’ claims herein.” Id. at *4.
F.2d 1301, 1305 (9th Cir.1990)). A cy pres distribution is
reasonable where it “account[s] for the nature of the            Like in both Lane and Google Buzz, the present class
plaintiffs’ lawsuit, the objectives of the underlying            action contains a very sizeable class amount. Given the
statutes, and the interests of the silent class members ....”    sheer size of the Class (over 62 million Netflix members)
                                                                 each Class member would receive a de minimis payment
    Nachshin, 663 F.3d at 1036.                                  in the event of a direct class cash payout. This amount
                                                                 would likely prove to be nullified by distribution costs.
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       5
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 7 of 14 PageID #:1662


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



See      Lane, 696 F.3d at 825. Unlike Lane, which                 6. Experience and Views of Counsel
essentially returned the cy pres funds back to the               *8 The next factor the Court will consider is the
defendant for the purpose of having the defendant of set         experience and opinion of counsel. In evaluating this
up a privacy-related organization, the present Settlement        factor, the Court notes that “[p]arties represented by
Agreement provides for distribution to already-existing          competent counsel are better positioned than courts to
third-party organizations.1 See Notice of Proposed Cy            produce a settlement that fairly reflects each party’s
Pres Award Recipients. The list of the cy pres recipient         expected outcome in litigation.”    Rodriguez v. West,
organizations—which the Court notes is similar to that of        563 F.3d at 967 (citing     In re Pac. Enters. Sec. Litig.,
the Google Buzz cy pres distribution, see No.                    47 F.3d 373, 378 (9th Cir.1995)). Moreover, “[t]he
10–00672–JW, 2011 WL 7460099, at *3—includes                     recommendations of plaintiffs’ counsel should be given a
leading consumer and privacy advocacy groups and
academic institutions. The organizations are located             presumption of reasonableness.” (      In re Omnivision
throughout the country so as to best benefit the                 Techns., Inc., 559 F.Supp.2d 1036, 1043 (N.D.Cal.2009)
far-reaching Class through outreach and education                (quoting Boyd v. Bechtel Corp., 485 F.Supp. 610, 622
programs, litigation and public advocacy, development of         (N.D.Cal.1979)). This factor weighs in favor of approval
privacy-protecting tools, and other methods.                     in light of Class Counsel’s experience with these types of
                                                                 class action cases rooted in issues involving online
Accordingly, the Court finds that the settlement                 technology and consumer privacy. See Final Approval
amount—which includes the size of the cash distribution,         Motion at 36–37. The Court also notes that Class Counsel
the cy pres method of distribution, and the injunctive           was appointed as such by this Court after a leadership
relief—to be a factor that weighs in favor of approval.          fight among the seven plaintiffs’ firms involved in this
                                                                 litigation. See Order Appointing Interim Class Counsel,
                                                                 Docket Item No. 59.



   5. Extent of Discovery
Before settlement, discovery was on-going. Plaintiffs
have propounded, and Netflix responded to, formal                   7. Presence of a Government Participant
written discovery questions including interrogatories and        Although no government entity was or is a party to this
requests for the production of documents. See Final              action, Netflix complied with the notice requirement of
Approval Motion Ex. C, Declaration of Jay Edelson ¶¶             the Class Action Fairness Act (CAFA), 28 U.S.C. § 1715
64. Class Counsel also engaged in informal discovery             and provided the requisite notice to government officials.
with Netflix’s Vice President of Product Engineering and         See Pls.’ Final Approval Mot. Ex. H. “Although CAFA
its Vice President of Marketing and Analytics. Id. These         does not create an affirmative duty for either state or
discovery efforts allowed Plaintiff’s counsel to accurately      federal officials to take any action in response to a class
valuate by compiling information ranging from the extent         action settlement, CAFA presumes that, once put on
to which Netflix compiled and collected PII to the number        notice, state or federal officials will raise any concerns
of members that might fall into the Class. Id. ¶ ¶ 62–64.        that they may have during the normal course of the class
While formal discovery had not been completed, Class             action     settlement     procedures.”      Garner,     No.
Counsel has established that they had acquired sufficient        08–CV–1365–CW, 2010 WL 1687832, at *14. The Court
information to make an informed decision about the               notes that the Office Attorney General of the Texas sent a
valuation of the case, potential obstacles and pitfalls, and     letter dated July 9, 2012, which expressed concerns
likelihood of success so to as effectively engage in             regarding the proposed settlement. See Letter from Wade
settlement negotiations. As such, this factor weighs in          Phillips, Assistant Attorney General of Texas, to Hon.
                                                                 Edward J. Davila, Judge, Northern District of California
favor of settlement. See      In re Mego Fin. Corp. Sec.         (July 9, 2012) (on file with the United States District
Litig., 213 F.3d 454, 459 (9th Cir.2000) (“[F]ormal              Court, Northern District of California). This letter urged
discovery is not a necessary ticket to the bargaining table      the Court not to approve the settlement for similar reasons
where the parties have sufficient information to make an         as do many of the class member Objections.2 The Court
informed decision about settlement.”).                           will address—and ultimately overrule—these Objections
                                                                 that contain such reasoning in Part IV of this Order
                                                                 below.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                      6
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 8 of 14 PageID #:1663


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



                                                                 (internal quotation marks omitted). The notice need only
                                                                 “generally describe[ ] the terms of the settlement in
                                                                 sufficient detail to alert those with adverse viewpoints to
   8. Reaction of Class Members                                  investigate and to come forward and be heard.”
The next factor the Court must consider is the reaction of
                                                                     Churchill, 361 F.3d at 575 (internal quotation marks
the class to the proposed settlement.     Hanlon 150 F.3d
                                                                 omitted); see also      Mendoza v. Tucson Sch. Dist. No. 1,
at 1026. The Settlement Class consists of some 62 million
                                                                 623 F.2d 1338, 1351 (9th Cir.1980) ( “Notice in a class
members. As of November 27, 2012, 2508 class members
                                                                 suit may consist of a very general description of the
opted out of the settlement—approximately one in every
                                                                 proposed settlement.”).
24,800 class members. See Exclusion List, Affidavit of
Tore Hodne Ex. A. Approximately 110 class members
                                                                 In this case the parties created and agreed to perform a
filed objections with the Court3—approximately one in
                                                                 Notice Plan, which was outlined in the Preliminary
every 560,000 class members. Courts have considered
                                                                 Approval Order. See Settlement Agreement § 4;
relatively low numbers of objectors compared to the class
                                                                 Preliminary Approval Order at 6–8. This plan included
size to weigh in favor of settlement. See, e.g.,
                                                                 providing class members with notice via email, creating
    Churchill, 361 F.3d at 577 (affirming approval of class      and maintaining a settlement website containing pertinent
action settlement with 45 objections from a                      and detailed information regarding the settlement, and
90,000–person class);        Hanlon, 150 F.3d at 1027            notification via print and online publication. The Court
(“[T]he fact that the overwhelming majority of the class         finds that this plan has met the requirements of      Rule
willingly approved the offer and stayed in the class             23 and due process and that it has been fully and properly
presents at least some objective positive commentary as to       implemented by the parties and the Settlement
its fairness”); In re TD Ameritrade Acc’t Holder Litig.,         Administrator. Additionally, as noted, the Court has found
Nos. C 07–2852 SBA, C 07–4903 SBA, 2011 WL                       that notice had been properly given to the appropriate
4079226, at *7 (N.D.Cal. Sept.13, 2011) (finding that            federal and state government officials in accordance with
reaction of a class was “positive” where there were “only        CAFA.
23 [objections] and less than 200 [opt-outs]” out of six
million class members receiving notice);       Browning v.
Yahoo! Inc., No. 04–C–01463–HRL, 2007 WL 4105971,
at *12 (N.D.Cal. Nov.16, 2007) (concluding that a ratio of
one objector for every 100,720 class members to be a
“low” objection rate “even compared to objection rates in           D. Attorneys’ Fees
other, similar class action settlements”); Nat’l Rural           Under the Settlement Agreement, Netflix has agreed to
Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523,               pay Class Counsel a fee award of up 25% of the
529 (C.D.Cal.2004) (“[T]he absence of a large number of          Settlement Fund plus reimbursement of up to $25,000.00
objections to a proposed class action settlement raises a        of costs and expenses. Settlement Agreement § 9.1.
strong presumption that the terms of a proposed class            Accordingly, Class Counsel seeks attorneys’ fees of
settlement action are favorable to the class members.”).         $2,250,000.00 plus the $25,000.00 in costs and expenses.
The Court agrees and concludes that this factor weighs in        Final Approval Motion at 41. Class Counsel contends that
                                                                 this   fee    request   is   appropriate    under    the
favor of settlement. See      Lane, 696 F.3d 811; Google         percentage-of-the-fund analysis with the lodestar
Buzz, No. 10–00672–JW, 2011 WL 7560099.                          cross-check.
Nevertheless, the Court will still consider and address the
substantive arguments raised by the Objections to the
Settlement Agreement in Part IV of this Order below.


                                                                    1. Percentage–of–the–Fund
                                                                 For common fund settlements, like the one before the
                                                                 Court, the Ninth Circuit has set a “benchmark” fee award
   C. Notice
                                                                 at 25% of the recovery obtained.     Vizcaino v. Microsoft
*9 Under     Federal Rule of Civil Procedure 23(c), the          Corp., 290 F.3d 1043 (9th Cir.2002); In re Bluetooth
parties need only provide notice “reasonably certain to          Headset Prods. Liab. Litig., 645 F.3d 935 (9th Cir.2011).
inform the absent members of the plaintiff class[.]”             A district court may depart from this benchmark after
   Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir.1994)            providing     adequate     explanation      of    “special
               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                       7
      Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 9 of 14 PageID #:1664


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



circumstances” so justifying. Id. at 942. “The Ninth             multiplier of 1.66 which would equate attorneys’ fees
Circuit has set forth a non-exhaustive list of factors which     with the amount calculated under the percentage method.
may be relevant to the district court’s determination of the     This multiplier figure is comparable to other multipliers in
percentage ultimately awarded: (1) the results achieved;         similar approved settlements. See, e.g., Google Buzz, No.
(2) the risk of litigation; (3) the skill required and quality   10–00672–JW, 2011 WL 7560099; Lane, No. C 08–3845
of work; (4) the contingent nature of the fee and the            RS, 2010 WL 2076916. As such, the Court finds that the
financial burden carried by the plaintiffs; and (5) awards       lodestar method of fee calculation confirms the
made in similar cases.” Tarlecki v. bebe Stores, Inc., No.       reasonableness of the percentage-based calculation.
C 05–1777 MHP, 2009 WL 3720872, at *4 (N.D.Cal.
Nov.3, 2009) (citing       Vizcaino, 290 F.3d at 1048–50).

*10 The Court finds that Class Counsel’s request for
$2,250,000.00 meets the Ninth Circuit’s benchmark test
                                                                    E. Incentive Awards
and is appropriate under the present circumstances. The
                                                                 “[N]amed plaintiffs, as opposed to designated class
Court has taken into account the complexity of this
                                                                 members who are not named plaintiffs, are eligible for
litigation, the novelty and risk of the claims and Plaintiffs’
theory of the case, potential potent defenses and                reasonable incentive payments.”       Staton, 327 F.3d at
weaknesses of the case, the favorable result Class Counsel       977. In judging the appropriateness of incentive awards a
has achieved on behalf of Plaintiffs and the Class, and          district court should use “relevant factors includ[ing] the
other factors in finding that no departure from this             actions the plaintiff has taken to protect the interests of
benchmark is warranted. The Court also notes that this           the class, the degree to which the class has benefitted
attorneys’ award is similar to that of similar settlements       from those actions ... the amount of time and effort the
involving cy pres distribution. See, e.g., Google Buzz, No.      plaintiff expended in pursuing the litigation ... and
10–00672–JW, 2011 WL 7560099; Lane v. Facebook,                  reasonabl[e] fear[s of] workplace retaliation.” Id. (internal
Inc., No. C 08–3845 RS, 2010 WL 2076916 (N.D.Cal.                quotation marks omitted).
May 24, 2010).
                                                                 *11 The Settlement Agreement provides that the Class
                                                                 Representatives and named Plaintiffs in the Related
                                                                 Actions shall receive a total Incentive Award of $30,000
                                                                 from the Settlement Fund. Settlement Agreement § 9.2.
                                                                 The Agreement designates that “Class Counsel shall have
   2. Lodestar Comparison                                        the sole responsibility of ensuring that the collective
“[W]hile the primary basis of the fee award remains the          Incentive Award is distributed appropriately ....” Id. § 9.2.
percentage method, the lodestar [method] may provide a           Class Counsel requests dividing this award as follows:
useful perspective on the reasonableness of a given              $6000 to each of the four Class Representatives and
percentage award.”      Vizcaino, 290 F.3d at 1050. The          $3000 to each of the two named Plaintiffs in the Related
“lodestar method” of calculating attorneys’ fees “involves       Actions. Final Approval Motion at 55. The Class
multiplying the number of hours the prevailing party             Representatives and named Plaintiffs in this case assumed
reasonably expended on the litigation by a reasonably            the responsibilities and burdens of acting as
                                                                 representatives in this lawsuit, including expending time
hourly rate.”       Staton, 327 F.3d at 965 (internal            participating in the litigation of the case with Class
quotation marks omitted). The lodestar method is merely          Counsel as well as facing public scrutiny through media
a “cross-check” to test the percentage figure’s                  coverage of this high profile suit. Accordingly, the Court
reasonableness under the circumstances of the case; the          finds the incentive award to be reasonable in light of the
lodestar method’s limitations lie in its creating a possible     incentive award eligibility factors set forth in Staton.
incentive for counsel to expend more hours than is
necessary on a litigation or to delay settlement.
    Vizcaino, 290 F.3d at 1050 n. 5.

Here, Class Counsel calculates attorneys’ fees under the
lodestar method to be $1,352,025 plus costs of                   IV. Objections to the Settlement Agreement and
$47,502.56. Final Approval Motion at 50. Counsel                 Awards
provides sufficient support for this calculation considering     The Court now turns to the substance of the Objections to
reasonable hours and rates. See id. at 50–52. Moreover,          the Settlement Agreement. The Objectors bear the burden
the Court agrees with Class Counsel’s suggested lodestar         of proving any assertions they raise challenging the
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        8
     Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 10 of 14 PageID #:1665


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



reasonableness of a class action settlement.        United       settlement process.”      Lane, 696 F.3d at 820–21; see
States v. Oregon, 913 F.2d 576, 581 (9th Cir.1990). The          also     Hanlon, 150 F.3d at 1027. In fact, contrary to the
Court iterates that the proper standard for approval of the      contentions of these types of Objections, Class Counsel
settlement is whether it is fair, reasonable, adequate, and      set up an application system which included fielding input
free from collusion—not whether the class members                and suggestions from Class Members as to which
could have received a better deal in exchange for the            organizations should be named as cy pres recipients.
release of their claims. See      Hanlon 150 F.3d at 1027
(“Settlement is the offspring of compromise; the question        A next line of argument raised by some of these
we address is not whether the final product could be             Objections challenge the types of organizations selected
prettier, smarter or snazzier, but whether it is fair,           as cy pres recipients. Some suggest that funds should be
adequate and free from collusion.”). The Court also              distributed to other charities for the purposes of helping
reasserts that the proper notice procedures were followed        the poor or needy. This argument does not take into
in this case which allowed class members to opt out of the       account Ninth Circuit precedent, which requires that
Settlement Agreement and preserve their potential claims         “[c]y pres distributions account for the nature of the
if they were unhappy with the results of the Agreement.          plaintiffs’ lawsuit, the objectives of the underlying
                                                                 statutes, and the interests of the silent class members,
After reviewing the Objections the Court has determined          including their geographic diversity.”        Nachshin, 663
that they are to be overruled.4 The Court will provide an        F.3d at 1036. On the opposite end of the spectrum, other
explanation of this determination with regard to some of         Objections suggest there is not a sufficient nexus between
the meritorious arguments raised in the Objections.              the recipients and the claims alleged in this litigation. The
                                                                 Court rejects these arguments having found the cy pres
                                                                 recipients to be sufficiently related to the issues that form
                                                                 the core of this lawsuit. As noted, the organizations
                                                                 provide an array of consumer advocacy, protection, and
                                                                 education services in the field of online privacy. As such,
   A. Objections to the Cy Pres Nature of Funds
                                                                 the Court overrules these Objections.
   Distribution
A majority of the Objections criticize the Settlement’s use
of the cy pres method of distribution of the Settlement
Fund. Many of these Objections present philosophical and
generalized attacks on the law providing for cy pres
distribution in class action settlements. Similar Objections        B. Objections Suggesting an “In–Kind” Form Relief
express disapproval that the charitable cy pres                  Several Objections suggest an alternative “in-kind” form
organizations, and not the class members, receive the            of relief such as, among others, a reduction in Netflix
monetary settlement funds. Objections of this nature find        member dues or a free month of Netflix services. These
no support in the law; as the Court has explained, cy pres       Objections have many flaws some of which include
distribution has been found to be an appropriate relief          failing to demonstrate the economic feasibility of such a
mechanism. See, e.g.,            Lane, 696 F.3d at 819;          form of relief or failing to take into account class
    Nachshin, 663 F.3d at 1036. Further, as noted,               members who are no longer Netflix customers. But
Plaintiffs have made a sufficient showing that the cost of       notwithstanding the weaknesses of these suggestions, the
distributing the settlement to the 62 million individual         Court notes that these Objections merely suggest a
class members would exceed the size of the fund, thus            different or arguably better settlement award rather than
making such a remedy cost-prohibitive and infeasible.            sufficiently calling into question the fairness or adequacy
                                                                 of the Agreement.         Hanlon, 150 F.3d at 1027 (“Of
*12 Other objections take issue with the process by which        course it is possible, as many of the objectors’ affidavits
the cy pres recipients were selected, arguing that the           imply, that the settlement could have been better. But this
individual class members should have been the ones               possibility does not mean the settlement presented was
making such decisions. Again, the law in this Circuit            not fair, reasonable or adequate.”). Accordingly, these
rejects this notion: “We do not require as part of that          types of Objections are overruled.
doctrine that settling parties select a cy pres recipient that
the court or class members would find ideal. On the
contrary, such an intrusion into the private parties’
negotiations would be improper and disruptive to the

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                        9
     Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 11 of 14 PageID #:1666


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



    C. Objections to the Amount of the Settlement Fund           objections amount to generalized quarrels with the law
Several Objections call into question the amount of the          regarding such fees and awards in class action
Settlement Fund, claiming it is too small. As explained          settlements, the processes used to calculate such fees, and
above, the Court has found that the amount of the cash           whether the fees and awards are justified in light of
settlement to be fair and adequate considering the strength      Settlement Agreement. These arguments ignore the
of Plaintiffs’ case, potential defenses, experience and          well-established Ninth Circuit law regarding attorneys’
opinion of counsel, the settlement amount of similar class       fees and incentive awards, which have been addressed
action litigations, and other factors. Again, the Court has      above. Because the Court has found that the fees and
been instructed not to substitute its own judgment for that      awards are reasonable and proper under the law, these
of the parties who were the ones actually engaging in the        objections are rejected.
negotiations. See      Pac. Enterprises Sec. Litig., 47 F.3d
at 378 (“Parties represented by competent counsel are
better positioned than courts to produce a settlement that
fairly reflects each party’s expected outcome in
litigation.”).
                                                                 V. Conclusion and Order
                                                                 For the foregoing reasons, the Court finds that the
                                                                 Settlement Agreement including the Award of Attorneys’
                                                                 Fees, Expenses, and Incentive Award, is fair, adequate,
                                                                 and reasonable; that it satisfies  Federal Rule of Civil
   D. Objections to the Injunctive Relief                        Procedure 23(e) and the fairness and adequacy factors of
*13 Another group of Objections takes issue with the             this Circuit; and that it should be approved and
injunctive relief provided for as part of the Settlement         implemented as set out in this Court’s Final Order and
Agreement. These Objections argue that the decoupling of         Judgment. The Final Approval Motion is therefore
information is reversible or unconnected to the wrongs for       GRANTED.
which Plaintiffs sought relief in bringing this suit. Like
with many of the others, these Objections do not                 Since this Order effectively disposes of the entire case,
sufficiently show that the injunctive relief is inherently       the Clerk shall close this file upon entry of Judgment.
unfair so as to disapprove of the Settlement Agreement.
To the contrary, the injunctive relief seeks to prevent
Netflix from engaging in precisely the activity which            IT IS SO ORDERED.
underlies this class action. In Lane, the Ninth Circuit
approved of this type of injunctive relief despite
objections suggesting that the complained-of activity have
already been ceased by the defendant in that case. See
    Lane 696 F.3d at 825 (approving an injunction that           [PROPOSED] FINAL JUDGMENT AND ORDER OF
required defendant Facebook to terminate the                            DISMISSAL WITH PREJUDICE.
complained-of Beacon program over objections that
Beacon had already been terminated). As for the                  Pending before the Court is Plaintiffs’ Motion for Final
Objections’ suggestions that the decoupling is reversible,       Approval of Class Action Settlement and Award of
the Court notes that if it reversed the decoupling, Netflix      Attorneys’ Fees, Expenses, and Incentive Award
would be violating the Court-approved Settlement                 (Dkt.190) (the “Motion”). The Court, having reviewed the
Agreement. As such, these Objections are overruled.              papers filed in support of and in opposition to the Motion,
                                                                 heard argument of counsel, and good cause appearing
                                                                 therein, Plaintiffs’ Motion is hereby GRANTED and it is
                                                                 hereby ORDERED, ADJUDGED, and DECREED
                                                                 THAT:
   E. Objections to Attorneys’ Fees and Incentive                *14 1. Terms and phrases in this Order shall have the
   Wards                                                         same meaning as ascribed to them in the Parties’ April 30,
A sizeable group number of Objections challenge the              2012 Class Action Settlement Agreement (the “Settlement
Settlement Agreement’s provisions with regard to                 Agreement”).
attorneys’ fees for Class Counsel and incentive awards to
the Named Plaintiffs and Class Representatives. These            2. This Court has jurisdiction over the subject matter of

                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                     10
     Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 12 of 14 PageID #:1667


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



this action and over all Parties to the Action, including all    circumstances and included comprehensive nationwide
Settlement Class Members.                                        newspaper publication, website publication, and direct
                                                                 e-mail notice. The Notice Plan has been successfully
3. On July 5, 2012, this Court granted Preliminary               implemented and satisfies the requirements of  Federal
Approval of the Settlement Agreement and preliminarily           Rule of Civil Procedure 23 and Due Process.
certified a settlement class consisting of:
                                                                 7. The Court finds that the Defendant properly and timely
                                                                 notified the appropriate state and federal officials of the
             All Subscribers as of the date of                   Settlement Agreement, pursuant to the Class Action
             entry of Preliminary Approval.                      Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715. The
             Excluded from the Settlement Class                  Court has reviewed the substance of Defendant’s notice
             are the following: (i) the Settlement               and accompanying materials, and finds that they complied
             Administrator, (ii) the Mediator,                   with all applicable requirements of CAFA.
             (iii)   any     respective     parent,
             subsidiary, affiliate or control                    8. Subject to the terms and conditions of the Settlement
             person of the Defendant or its                      Agreement, this Court hereby dismisses the action on the
             officers, directors, agents, servants,              merits and with prejudice.
             or employees as of the date of
             filing of the Action, (iv) any judge                *15 9. Upon the Effective Date of this settlement,
             presiding over the Action and the                   Plaintiffs and each and every Settlement Class Member,
             immediate family members of any                     fully, finally, completely and forever, release, acquit and
             such Person(s), (v) persons who                     discharge each released Party from any and all Released
             execute and submit a timely request                 Claims, except that Released Claims shall not extend to
             for exclusion, and (vi) all persons                 claims that are asserted in the case of Mollett v. Netflix,
             who have had their claims against                   Inc., No. 5:11–cv–01629–EJD as of the date of the
             Defendant fully and finally                         Settlement Agreement.
             adjudicated or otherwise released.
                                                                 10. Upon the Effective Date, the above release of claims
                                                                 and the Settlement Agreement will be binding on, and
                                                                 have res judicata and preclusive effect in all pending and
(Dkt. 80 at 2.)                                                  future lawsuits or other proceedings maintained by or on
                                                                 behalf of Plaintiffs and all other Settlement Class
4. Attached hereto and incorporated into this Order as           Members, Releasing Parties, and their heirs, executors,
Appendix 1 is a schedule of all such persons who have            and administrators, 00 successors, and assigns. All
timely and validly requested to be excluded from the             Settlement Class Members who have not been properly
Settlement Class.                                                excluded from the Settlement Class are hereby
                                                                 permanently barred and enjoined from filing,
5. This Court now affirms certification of the Settlement        commencing, prosecuting, intervening in, or participating
Class and gives final approval to the settlement and finds       (as class members or otherwise) in any lawsuit or other
that the Settlement Agreement is fair, reasonable,               action in any jurisdiction based on or arising out of the
adequate, and in the best interests of the Settlement Class.     Released Claims.
The complex legal and factual posture of this case, and
the fact that the Settlement Agreement is the result of          11. Netflix is hereby ordered to implement and comply
arms’ length negotiations presided over by a neutral             with Sections 2.1 and 2.2 of the Settlement Agreement
mediator support this finding. The Class Representatives         regarding the injunctive relief made available to the
and Class Counsel adequately represented the Settlement          Settlement Class Members.
Class for purposes of entering into and implementing the
Settlement Agreement. Accordingly, the Settlement                12. The Court awards to Settlement Class Counsel
Agreement is hereby finally approved in all respects, and        $2,250,000.00 as attorneys’ fees and costs.
the Parties are hereby directed to perform its terms.
                                                                 13. The Court awards to the Class Representatives and
6. The Court-approved Notice Plan to the Settlement              named-Plaintiffs in the Related Actions $ 30,000.00 as an
Classes, as set forth in the Preliminary Approval Order on       Incentive Award for their roles in this case and the
July 5, 2012, was the best notice practicable under the          Related Actions.

                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                   11
     Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 13 of 14 PageID #:1668


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



                                                                    are hereby permitted to agree and to adopt such
14. Defendant shall pay the Fee Award and Incentive                 amendments, modifications, and expansions of the
Award pursuant to and in the manner provided by the                 Settlement Agreement and its implementing documents
terms of the Settlement Agreement.                                  (including all exhibits to the Settlement Agreement) so
                                                                    long as they are consistent in all material respects with the
15. Except as otherwise set forth in this Order, the Parties        Final Judgment and do not limit the rights of Settlement
shall bear their own costs and attorneys’ fees.                     Class Members.

16. This Court hereby directs entry of this Final Judgment          *16 19. Without affecting the finality of this Final
based upon the Court’s finding that there is no just reason         Judgment in any way, this Court hereby retains
for delay of enforcement or appeal of this Final Judgment           continuing    jurisdiction   over,   inter  alia,    (a)
notwithstanding the Court’s retention of jurisdiction to            implementation, enforcement, and administration of the
oversee implementation and enforcement of the                       Settlement Agreement, including any releases in
Settlement Agreement.                                               connection therewith; (b) resolution of any disputes
                                                                    concerning class membership or entitlement to benefits
17. This Final Judgment and order of dismissal with                 under the terms of the Settlement Agreement; and (c) all
prejudice, the Settlement Agreement, the settlement that it         Parties hereto, for the purpose of enforcing and
reflects, and any and all acts, statements, documents, or           administering the Settlement Agreement and the Action
proceedings relating to the Settlement Agreement are not,           until each and every act agreed to be performed by the
and shall not be construed as, or used as an admission or           Parties has been performed pursuant to the Settlement
concession by or against the Parties with respect to any            Agreement.
fault, wrongdoing, or liability, or of the validity of any
Claim or defense, or of the existence or amount of
damages, or that the consideration to be given under the            IT IS SO ORDERED.
Settlement Agreement represents an amount equal to, less
than or greater than the amount that could have or would            All Citations
have been recovered after trial.
                                                                    Not Reported in F.Supp.2d, 2013 WL 1120801
18. The Parties, without further approval from the Court,
                                                          Footnotes


1
       Several judges on the Ninth Circuit have expresses disapproval of the Lane settlement, albeit in dissenting opinions.
       One of the reasons these judges took issue with that settlement involves that fact that the cy pres funds were to be
       used in part by the defendant to set up an organization to educate users about issues related to privacy and
       protection of their PII. See Lane v. Facebook, Inc., No. 10–16380, No. 10–16398, 2013 U.S.App. LEXIS 3935, at *4,
       2013 WL 765140 (9th Cir. Feb. 26, 2013), denying petition for reh’g en banc         696 F.3d 811 (9th Cir.2012) (Smith,
       J., dissenting) (“The ‘charity’ is simply a bespoke creation of this settlement.”);   Lane, 696 F.3d at 832 (Kleinfeld,
       J., dissenting) (“Every nickel of the remainder of the $9,500,000 ... goes not to the victims, but to an entity partially
       controlled by Facebook and class counsel). The cy pres recipients in this case, unlike the settlement in Lane, are
       already-existing charitable organizations that provide educational as well as legal services related to online privacy
       issues and concerns.

2
       The letter expresses concerns with the cy pres nature of distribution, the fact that the individual class members do
       not receive monetary compensation, and that Class Counsel receives 25% of the $9,000,000.00 Settlement Fund as
       an award.

3
       The properness of the filing of several objections is disputed by Plaintiffs. See Pls.’ Reply Memo. in Supp. of Final
       Approval Mot. 1 n. 1. For the purposes of this Order the Court has considered the substantive arguments of all
       objections, even those whose properness of filing is under dispute.

4
       Shortly before and after the Final Fairness hearing, there have been several requests to file and strike additional
                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          12
     Case: 1:19-cv-07915 Document #: 49-13 Filed: 08/28/20 Page 14 of 14 PageID #:1669


In re Netflix Privacy Litigation, Not Reported in F.Supp.2d (2013)



       briefings in this matter. See Docket Item Nos. 231, 239, 243, 246, 253. Netflix’s Motion to Strike, Docket Item No.
       231, is GRANTED. Class Member Tanner’s Motion for Leave to File Supplementary Memorandum, Docket Item No.
       239, is DENIED. Netflix’s Motion to file a Surreply, Docket Item No. 243, is DENIED. Netflix’s Motion to Strike, Docket
       Item No. 246, is GRANTED. Class Counsel’s Motion for Leave to File Instanter, Docket Item No. 253, is DENIED.




End of Document                                                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            13
